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                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA             :
                                              3:15-CR-72
                                     :
           v.
                                     :    (JUDGE MANNION)

MICHAEL COSTELLO,                    :

                 Defendant           :

                             MEMORANDUM

I.   BACKGROUND1
     On April 23, 2020, defendant Michael Costello, an inmate at FCI-
Sandstone, Minnesota, filed, pro se, his first Motion for Compassionate
Release or Reduction of Sentence under 18 U.S.C. §3582(c)(1)(A), as
amended by the First Step Act (“FSA”), Pub. L. No. 115-391, 132 Stat. 5194
(Dec. 21, 2018), and request for immediate transfer to home confinement,
related to his 144-month prison sentence, due to the COVID-19 pandemic.
(Doc. 93). Defendant sought the court to alter his sentence and to
immediately release him from confinement in prison at FCI-Sandstone to
home confinement in Scranton, Lackawanna County, Pennsylvania, due to
his fear that he may contract the COVID-19 virus in the prison if it was



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       The court does not repeat the complete background of this case since
it was stated in its May 11, 2020 Memorandum dismissing without prejudice
defendant’s first motion for compassionate release. (Doc. 94).
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introduced there in the future. He did not allege that he has any chronic
medical condition that would put him at greater risk to suffer more severe
consequences if he did contract the virus. The court also noted that
defendant was 45 years old and not in the high risk age category.
     On May 11, 2020, the court issued a Memorandum and construed
defendant’s motion as a petition for writ of habeas corpus pursuant to 28
U.S.C. §2241, and it transferred his case to the District of Minnesota, where
habeas jurisdiction was proper. (Doc. 94).
     Alternatively, the court construed defendant’s filing as a motion for
compassionate release under 18 U.S.C. §3582(c)(1)(A)(i), and it sua sponte
dismissed the motion without prejudice for lack of jurisdiction due to his
failure to exhaust his BOP administrative remedies.
     Further, to the extent defendant was deemed as seeking the court to
order the BOP to find him eligible for immediate home confinement
designation under the Coronavirus Aid, Relief, and Economic Security Act
(the “CARES Act”), Pub. L. 116-136, §12003, the court denied this request
since it did not have authority under this Act to order the BOP to release him
to home confinement.
     On June 22, 2020, defendant filed, pro se, his second motion for
compassionate release under 18 U.S.C. §3582(c)(1)(A)(i), alleging that he
has now exhausted his BOP administrative remedies and that his motion is
properly before the court. (Doc. 96). Defendant seeks the court to release
him to home confinement or to re-sentence him to time served. Defendant

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attached Exhibits to his motion, including copies of his requests for
compassionate release and the responses from Warden Fikes. (Doc. 96 at
7-11). Defendant also submitted copies of his BOP medical records. (Doc.
96 at 12-25).
     Specifically, as to his utilization of the administrative remedy process,
defendant submitted a copy of his May 1, 2020 Inmate Request to Staff for
compassionate release, under 18 U.S.C. §3582(c)(1)(A)(i), alleging
extraordinary and compelling circumstances due to the COVID-19 pandemic
and his medical conditions of high blood pressure, gout, high cholesterol,
and an ankle injury requiring surgery, as well as his family history of heart
disease and cancer. On May 5, 2020, Warden Fikes denied defendant’s
request stating that his “concern about being potentially exposed to, or
possibly contracting, COVID-19 does not currently warrant an early release
from his sentence.” (Doc. 96 at 7-8).
     On May 20, 2020, defendant filed a request for reconsideration (an
appeal) with the Warden regarding the denial of his request for
compassionate release. On May 27, 2020, Warden Fikes denied defendant’s
request and advised him that he could appeal the response by filing a
“Regional Appeal via Form BP-230(13), to the [BOP] Regional Director”
within 20 days. (Doc. 96 at 9-10).
     On June 11, 2020, defendant submitted his appeal of the Warden’s
May 5, 2020 and May 27, 2020 responses to his requests for compassionate
release to the BOP Regional Director on a Form BP-10. (Doc. 96 at 11).

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      In his instant motion, defendant indicates that his recent appeal of the
Warden’s responses is still pending with the Regional Director. Defendant
contends that this shows he exhausted his administrative remedies.
Defendant also states that he believes the court now has jurisdiction to
decide his motion under 18 U.S.C. §3582(c)(1)(A)(i) “as 30 days have
expired since [his] original request was received and denied by the Warden.”
(Doc. 96 at 1-2).
      The court directed the government to respond to defendant’s second
motion. On July 20, 2020, the government filed its brief in opposition to the
motion and copies of defendant’s BOP medical records, which the court
allowed to be filed under seal. (Docs. 100 & 102).
      On August 3, 2020, defendant filed his reply brief with attached
Exhibits, including copies of his medical records, courses he completed in
prison, including an apprenticeship, and certificates of achievements. (Docs.
104 & 104-1). On August 10, 2020, defendant filed a supplement alleging
that a staff member tested positive for COVID-19, (Doc. 105), and on
September 9, 2020, he filed an addendum, (Doc. 106), stating that over 35
days have lapsed since he submitted his appeal to the BOP (BP-11)
regarding his request for compassionate release and stating that he did not
receive a response. As such, defendant indicates that he has fully exhausted
the administrative process.




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II.   DISCUSSION2
      The government does not dispute that the exhaustion requirement has
been satisfied in this case with respect to defendant’s second motion for
compassionate     release.   Since   Costello   has   exhausted    his   BOP
administrative remedies, the court will consider the merits of his instant
motion for compassionate release under 18 U.S.C. §3582(c)(1)(A)(i).
      “The defendant carries the burden of showing that he or she is entitled
to a sentence reduction under the statute.” United States v. Schultz, –––
F.Supp.3d ––––, 2020 WL 1872352, at *2 (W.D. N.Y. April 15, 2020) (citation
omitted). “A defendant proceeding on his or her own motion may meet that
burden by demonstrating (1) that he or she satisfied the statutory exhaustion
requirement, (2) that extraordinary and compelling reasons exist for a
sentence reduction, and (3) that a sentence reduction is consistent with the
applicable Sentencing Guidelines provisions.” Id. (citations omitted).
      Costello argues that “[his] serious medical vulnerabilities, combined
with the BOP’s catastrophic response to the COVID-19 pandemic, constitute
‘extraordinary and compelling reasons’’ warranting his reduction in his
sentence and release from prison. He also contends that he is not a danger




      2
       As previously noted, defendant is currently serving a 144-month
prison sentence that was imposed by this court on October 25, 2017, after
he pled guilty to receipt and distribution of child pornography, 18 U.S.C.
§2252(a)(2). Defendant was also ordered to be on 10-years of supervised
release following the service of his prison sentence.
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to the public and that a reduction in his sentence is supported by the factors
in §3553(a).
      The government contends that defendant’s motion should be denied
since he has not identified “extraordinary and compelling reasons” for a
reduction within the meaning of §3582(c)(1)(A) and the Sentencing
Commission’s policy statement, and since he poses a significant danger to
the public and the statutory sentencing factors under §3553(a) do not weigh
in favor of his release.
      As the court in United States v. Epstein, 2020 WL 2537648, *2 (D.N.J.
May 19, 2020), explained:
      Once a federally imposed sentence commences, a district court has
      limited authority to modify that sentence. Dillon v. United States, 560
      U.S. 817, 825 (2010) (“‘[A] judgment of conviction that includes [a
      sentence of imprisonment] constitutes a final judgment’ and may not
      be modified by a district court except in limited circumstances.”
      (alterations in original) (quoting 18 U.S.C. §3582(b)). One such
      authority for modifying a sentence is found in the recently-enacted First
      Step Act, which allows a defendant to be afforded compassionate
      release for “extraordinary and compelling reasons.” 18 U.S.C.
      §3582(c)(1)(A)(i).

      The First Step Act, §3582(c)(1)(A)(i), provides in relevant part:
      (c) Modification of an imposed term of imprisonment. The court may
not modify a term of imprisonment once it has been imposed except that—
      (1) in any case—
       (A) the court, upon motion of the Director of the Bureau of Prisons,
           or upon motion of the defendant after the defendant has fully


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           exhausted all administrative rights to appeal a failure of the
           Bureau of Prisons to bring a motion on the defendant’s behalf or
           the lapse of 30 days from the receipt of such a request by the
           warden of the defendant’s facility, whichever is earlier, may
           reduce the term of imprisonment (and may impose a term of
           probation or supervised release with or without conditions that
           does not exceed the unserved portion of the original term of
           imprisonment), after considering the facts set forth in section
           3553(a) to the extent that they are applicable, if it finds that –
      (i) extraordinary and compelling reasons warrant such a reduction.
      Thus, “a defendant seeking a reduction in his sentence under the First
Step Act [“FSA”] ‘bears the burden of satisfying both that he has (1)
exhausted remedies before seeking judicial review, and (2) that compelling
and extraordinary reasons exist to justify compassionate release.’” Id.
(citation omitted).
      The government states that the Sentencing Commission’s “policy
statement defines ‘extraordinary and compelling reasons’ to include, …,
certain specified categories of medical conditions.” (Doc. 100 at 19) (citing
USSG §1B1.13, cmt. n.1(A)). However, as the court in Epstein, id. at *3,
pointed out, “the Sentencing Commission had defined th[e] term [“compelling
and extraordinary reasons”] as it relates to the BOP’s discretion under the
previous version of section 3582(c)(1)(A), it has not, however, updated its
Policy Statement since the passage of the First Step Act.” (citing United

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States v. Rodriquez, 451 F.Supp.3d 392, 2020 WL 1627331, at *3 (E.D. Pa.
Apr. 1, 2020); see also U.S. Sentencing Guidelines Manual (“U.S.S.G.”),
§1B1.3, Application Note 1 (U.S. Sentencing Comm’n 2018)). In any event,
“the Policy Statement provides useful guidance for district courts in
assessing a defendant’s eligibility for compassionate release, but it ‘does not
constrain [a court’s] independent assessment of whether ‘extraordinary and
compelling reasons’ warrant a sentence reduction under §3852(c)(1)(A).’” Id.
(citation omitted). “The Policy Statement provides that a defendant may
show extraordinary and compelling reasons for compassionate release
based on the medical condition of the defendant, the age of the defendant,
the defendant’s family circumstances, or for “other reasons.” Id. (citing
U.S.S.G. §1B1.13, Application Note 1).
      In the instant case, as in Epstein, id. at *3, defendant Costello seeks
compassionate release based on his medical conditions, as such, he “may
show extraordinary and compelling reasons for release … where (1) ‘[t]he
defendant is suffering from a terminal illness (i.e., a serious and advanced
illness with an end of life trajectory),’ or (2) he or she is[:] (I) suffering from a
serious physical or medical condition, (II) suffering from a serious functional
or cognitive impairment, or (III) experiencing deteriorating physical or mental
health because that of the aging process, that substantially diminishes the
ability of the defendant to provide self-care within the environment of a
correctional facility and from which he or she is not expected to recover.”
(citation omitted).

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      The court first addresses whether defendant has demonstrated
extraordinary and compelling reasons for compassionate release, under the
FSA, based on his medical conditions.
      “Section 3582(c)(1)(A)(i) permits a federal prisoner to petition a court
for compassionate release for ‘extraordinary and compelling reasons’”, and
in general, ‘“extraordinary’ means ‘[b]eyond what is usual, customary,
regular, or common’ and a ‘compelling need’ is a ‘need so great that
irreparable harm or injustice would result if it is not met.’” United States v.
Ramirez-Ortega, 2020 WL 485356, *3 (E.D. Pa. Aug. 18, 2020) (citations
omitted). Although a “general fear of contracting COVID-19 while imprisoned
at [the federal prison] does not represent an extraordinary and compelling
reason warranting compassionate release”, id., if an inmate has recognized
medical conditions that would put him at a greater risk to suffer severe
complications if he did contract COVID-19, this may qualify as an
“extraordinary or compelling reason” warranting his release from prison. See
“People     Who        Are   at   Higher    Risk     for   Severe     Illness,”
https://www.cdc.gov/coronavirus/2019-ncov/need-extraprecautions/people-
at-higher-risk.html.
      Defendant, age 46, alleges that he suffers from hypertension, gout, an
ankle injury and a family history of heart problems and cancer. Defendant
has heartburn but its treated effectively with Omeprazole. He also alleges
that he has a leaky heart valve. He claims that his medical conditions make
him more susceptible to severe complications if he contracts COVID-19. The

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government concedes that defendant suffers from obesity above BMI 30,
“which the CDC has described as a serious risk factor in the context of the
COVID-19 pandemic”, and hypertension but it points out that his
hypertension is “stable and being treated successfully.” It also contends that
there is nothing in defendant’s medical records to indicate he has a leaky
heart valve. Nor does the court find any indication in defendant’s medical
records, that were submitted, to show that he has a leaky heart valve. The
government also states that “[i]f a defendant’s medical condition does not fall
within one of the categories specified in the application note (and no other
part of the application note applies), his or her motion must be denied”, and
it contends that “the defendant has no serious physical or medical condition
that constitutes a compelling reason for release.” (Doc. 100 at 20).
     Also, the PSR indicated that Costello was treated for hypertension
since 2010, and that he was not taking medication for this condition but he
was prescribed Allopurinol for gout in his right ankle and knee. (Doc. 81 at
10). The prison medical staff also prescribed Allopurinol for defendant’s gout
and reported that defendant has been taking his medication as directed for
all of his conditions, that he was losing weight and indicated that he “feels
well.” Defendant was also being treated by the prison for his arthritis in his
right ankle, and he was prescribed Naproxen. Defendant’s heart rate was
reported to be “regular” and “normal.” Defendant also denied any medical
history regarding cardiovascular issues.



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     No doubt that defendant suffers from obesity and hypertension that
may make him more susceptible to, and place him in greater danger if he
contracts COVID-19. However, the prison is effectively treating defendant for
these medical conditions. (See Docs. 102 & 102-1 & 104-1).
     The government, (Id. at 21-22), also states that while COVID-19 does
not constitute an extraordinary and compelling reason,
     [t]hat does not mean, however, that COVID-19 is irrelevant to a court’s
     analysis of a motion under §3582(c)(1)(A). If an inmate has a chronic
     medical condition that has been identified by the CDC as elevating the
     inmate’s risk of becoming seriously ill from COVID-19, [footnote
     omitted] that condition may satisfy the standard of “extraordinary and
     compelling reasons.” Under these circumstances, a chronic condition
     (i.e., one “from which [the defendant] is not expected to recover”)
     reasonably may be found to be “serious” and to “substantially diminish[]
     the ability of the defendant to provide self-care within the environment
     of a correctional facility,” even if that condition would not have
     constituted an “extraordinary and compelling reason” absent the risk of
     COVID-19. USSG §1B1.13, cmt. n.1(A)(ii)(I). But as part of its analysis
     of the totality of circumstances, the Court should consider whether the
     inmate is more likely to contract COVID-19 if he or she is released than
     if he or she remains incarcerated. That will typically depend on the
     inmate’s proposed release plans and whether a known outbreak has
     occurred at his or her institution.

     The court notes that in Lackawanna County, where defendant wishes
to be placed on home confinement, as of October 15, 2020, there were 3,065
COVID-19        cases      reported        and    217      deaths.       See
https://www.health.pa.gov/topics/disease/coronavirus/Pages/Cases.aspx
     Also, the number of COVID-19 cases in a federal prison can be found
at     COVID-19         Cases,     Federal       Bureau      of      Prisons,

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https://www.bop.gov/coronavirus/. At FCI Sandstone, there are currently 65
inmate positive cases of COVID-19 reported and no positive cases for staff.
Also, 116 inmates have recovered from the virus at the prison. There are no
reported deaths from COVID-19 among inmates and staff at the prison.
     Moreover, defendant’s chronic care medical records indicate that he is
being properly treated for his obesity and hypertension, as well as his other
conditions, at FCI Sandstone, (see Doc. 102 & Doc. 102-1 & 104-1), and that
his conditions are controlled by medications and stable. Additionally, the
BOP’s Medical Duty Status indicates that defendant had no work restrictions
and that he was provided a brace for his ankle.
     Additionally, defendant does not allege that he was exposed to the
COVID-19 virus at FCI Sandstone, nor has he controverted with any
evidence the substantial steps identified in the government’s brief that the
BOP is taking to protect the health and safety of both inmates and staff at
the prison. Since the safety procedures and protocols enacted by the BOP
in prisons to protect inmates and staff, including at FCI Sandstone, are stated
in the government’s brief, (Doc. 100 at 3-14), and are found in the BOP’s
websites cited in the brief, they are not repeated herein. See BOP website
at: www.bop.gov/coronavirus/index.jsp.
     As the court in Epstein, 2020 WL 2537648, at *6, concluded, “[m]ere
‘speculation concerning possible future conditions does not constitute a
‘compelling reason’ for release.” (citing United States v. Veras, 2020 WL
1675975, at *4 (M.D. Pa. Apr. 6, 2020); see also Raia, 954 F.3d at 597

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(“[T]he mere existence of COVID-19 in society and the possibility that it may
spread to a particular prison alone cannot independently justify
compassionate release, especially considering BOP’s statutory role, and its
extensive and professional efforts to curtail the virus’s spread.”).
      To the extent that Costello’s medical conditions, and the risks he faces
due to the COVID-19 pandemic, constitute “extraordinary and compelling
reasons”, the court will consider his compassionate release based on
weighing the applicable factors set forth in 18 U.S.C. §3553(a).
      Under the FSA, the court is also required to consider “the factors set
forth in section 3553(a) to the extent that they are applicable” Id. at *3 (citing
§3582(c)(1)(A)). As in Epstein, id., the following factors in §3553(a)(1) and
(2), apply to the present case:
          (1) the nature and circumstances of the offense and the history and
              characteristics of the defendant;
          (2) the need for the sentence imposed—
              (A) to reflect the seriousness of the offense, to promote respect
                  for the law, and to provide just punishment for the offense;
      (B) to afford adequate deterrence to criminal conduct.
      The undisputed factual background of defendant’s offense is detailed
in the government’s brief, (Doc. 100 at 26-27), as well as in the PSR, (Doc.
81 at 4-6). In particular, as the government, in part, summarizes:
      [Costello] pleaded guilty to the receipt and distribution of child
      pornography. His offense involved victim-children under the age of 12
      and included images of sadistic and masochistic and violent conduct.
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      The number of images received/distributed was 27,350. He distributed
      such images to others during an 11-month time period. He actively
      sought out “pthc” (preteen hard core) images, and several images
      involved the sexual abuse of infants and toddlers. Examples of titles of
      videos/images found on the defendant’s computer include: “fuck 03yo
      boy,” “7yo stephy Hard Sex,” “2yo +mom+dad.”

      The court does not repeat the “sordid and horrific images/videos found
on Costello’s computer” which are detailed in the government’s brief. (Doc.
100 at 26-27).
      Suffice to say that the court finds that the underlying conduct of
Costello’s instant offense, which constitutes disturbing criminal conduct
involving graphic child pornography, is very severe and clearly demonstrates
that he poses a danger to the community. Costello’s conduct endangered
the vulnerable minors as well as the safety of the community. As the
government concludes in its brief, (Doc. 100 at 27), “[Costello’s conduct was]
extremely harmful and dangerous”, and [he] demonstrated through his
conduct that he is sexually attracted to young children.” As such, [Costello],
who has only served approximately 21% of his sentence, would be a danger
to the community if he were to be released.”
      Costello has failed to establish that he is not a danger to the
community. USSG §1B1.13(2). In fact, as the government recounts, (Id. at
27), in its brief:
      [Costello] only stopped [viewing and distributing child pornography]
      after a search warrant was executed at his residence and agents
      informed him that he had distributed images of child pornography to an
      undercover FBI agent in August 2014. In his confession to agents,

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      which he made a few days before trial was scheduled to begin, Costello
      admitted that he became sexually aroused when he viewed images of
      child pornography. He also stated that he viewed child pornography
      once or twice per week during this 11-month time period.

      Thus, the court finds that Costello committed a very serious crime
involving vulnerable minors, and that he presents a danger to the community.
      The court acknowledges the courses and apprenticeships Costello has
taken in prison as well as the Certificates of Appreciation he has earned,
however, his service of only 23 months towards his 144-month sentence in
this case, to be followed by a 10-years supervised release, is not sufficient
time to reflect the seriousness of his offense and is inconsistent with the
§3553(a) factors. See United States v. Pawlowski, 967 F.3d 327, 330-31 (3d
Cir. 2020) (Third Circuit held that a district court did not abuse its discretion
in denying compassionate release based, in part, on the amount of time
remaining to be served in the inmate’s sentence.). In particular, the court
finds that “the need for [Costello] to serve the remainder of his sentence still
exists to ‘reflect the seriousness of the offense, to promote respect for the
law, and to provide just punishment for the offense’”, and thus, “the section
3553(a) factors weigh against [his] release to home confinement.” Epstein,
2020 WL 2537648, at *3 (citing §3553(a)).
      Moreover, the 144-month sentence imposed by the court on Costello
was a significant downward departure from his guidelines range. Based upon
a total offense level of 37 and a criminal history category of I, Costello’s
guideline imprisonment range was 210 to 240 months. (Doc. 81 at 14). See

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Pawlowski, 967 F3d at 331 (Court stated that since defendant’s “sentence
was within the applicable Sentencing Guidelines range [it] is presumptively
reasonable.”) (citation omitted).


III.       CONCLUSION
           Defendant Costello’s second Motion for Compassionate Release and

for Immediate Release to Home Confinement, under §3582(c)(1)(A)(i),

related to the COVID-19 pandemic and his medical conditions, (Doc. 96), will

be DENIED ON ITS MERITS. An appropriate order will follow.



                                           s/ Malachy E. Mannion
                                           MALACHY E. MANNION
                                           United States District Judge

Dated: October 16, 2020
15-72-02




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